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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                      *


v.                                            *      Criminal Case No. JKB-16-0484


ANGEL WHITTINGTON, et al                      *


*       *       *       *    *   *     *    *    *    *                     *       *       *     *
                            MOTION TO SUPPRESS: WIRETAP

     DEFENDANT’S MOTION TO SUPPRESS TITLE III INTERCEPTION EVIDENCE

        Comes now Angel Whittington, through her attorney, Joseph A. Balter, and moves this

Honorable Court to suppress all evidence seized as a result of the government’s interception of

telephonic communications over Title III wiretaps. As grounds for this motion, Ms. Whittington

states the following:

        1.      The defendant, Angel Whittington, is charged in the indictment with Racketeering

Conspiracy, in violation of 18 U.S.C. § 1962(d); and, Conspiracy to Distribute and Possess With

Intent to Distribute CDS, in violation of 21 U.S.C. § 846.

        2.      On or about September 16, 2015, the government filed in the United States District

Court for the District of Maryland an application for a warrant authorizing the interception of wire

communications to and from cellular telephone number (410) 831-8398 and the Court issued an

order authorizing the interception of the wire communications pursuant to 18 U.S.C. § 2518.

        3.      Based on discovery provided to the defense, it appears that Ms. Whittington’s oral

communications were intercepted as a result of the orders.
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       4.       The interception of the telephonic communications violated Title III of the Omnibus

Crime Control and Safe Streets Act of 1968 and the Fourth Amendment to the United States

Constitution, and must therefore be suppressed in this criminal case.

       5.       Ms. Whittington contends that the evidence obtained as a result of the interception

of the telephonic communications should be suppressed on the ground that there was no probable

cause to support the issuance of the warrant.

       6.       Title III of the Omnibus Crime Control and Safe Streets Act of 1968, 18 U.S.C. §§

2510-2522,1 establishes the statutory scheme that governs the interception of wire, electronic, and

oral communications. Under Title III, an application for a court order authorizing the interception

of such communications must be authorized by the Attorney General or an Assistant Attorney

General specially designated by the Attorney General. See 18 U.S.C. § 2516(1). The application

must contain:

       (a) the identity of the investigative or law enforcement officer making the
       application, and the officer authorizing the application;

       (b) a full and complete statement of the facts and circumstances relied upon by the
       applicant, to justify his belief that an order should be issued, including (I) details as
       to the particular offense that has been, is being, or is about to be committed, (ii) . .
       . a particular description of the nature and location of the facilities from which or the
       place where the communication is to be intercepted, (iii) a particular description of
       the type of communications sought to be intercepted, (iv) the identity of the person,
       if known, committing the offense and whose communications are to be intercepted;

       (c) a full and complete statement as to whether or not other investigative procedures
       have been tried and failed or why they reasonably appear to be unlikely to succeed
       if tried or to be too dangerous;



 1
         Title III was amended and retitled by Title I of the Electronic Communications Privacy Act
of 1986, Pub. L. No. 99-508, 100 Stat. 1851. It continues, however, to be commonly referred to as
Title III.

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       (d) a statement of the period of time for which the interception is required to be
       maintained. If the nature of the investigation is such that the authorization for
       interception should not automatically terminate when the described type of
       communication has been first obtained, a particular description of facts establishing
       probable cause to believe that additional communications of the same type will occur
       thereafter;

       (e) a full and complete statement of the facts concerning all previous applications
       known to the individual authorizing and making the application, made to any judge
       for authorization to intercept, or for approval of interceptions of, wire, oral, or
       electronic communications involving any of the same persons, facilities or places
       specified in the application, and the action taken by the judge on each such
       application; and

       (f) where the application is for the extension of an order, a statement setting forth the
       results thus far obtained from the interception, or a reasonable explanation of the
       failure to obtain such results.

18 U.S.C. § 2518(1).

       7.      The judge to whom such an application is made may approve the requested

interception only if he or she determines that “there is probable cause for belief that an individual

is committing, has committed, or is about to commit a particular [enumerated] offense”; “there is

probable cause for belief that particular communications concerning that offense will be obtained

through such interception”; “normal investigative procedures have been tried and have failed or

reasonably appear to be unlikely to succeed if tried or to be too dangerous”; and “there is probable

cause for belief that the facilities from which, or the place where, the wire, oral, or electronic

communications are to be intercepted are being used, or are about to be used, in connection with the

commission of such offense[.]” 18 U.S.C. § 2518(3). If the judge approves the order, he or she must

specify the persons, if known, and places that are subject to the order, the type of communications

to be intercepted and the offense to which it relates, the identity of the applicant, the person

authorizing it and the agency authorized to execute it, and the period for which it is effective. 18


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U.S.C. § 2518(4). The order must terminate the surveillance when the objective is attained and may

extend in no event longer than thirty days. The order must also direct that it be executed as soon as

practicable and in a manner that minimizes the interception of extraneous matter. 18 U.S.C. §

2518(5).

       8.         By codifying this elaborate set of procedural requirements, Congress sought to ensure

that electronic surveillance by law enforcement authorities did not occur “except under carefully

defined circumstances and after securing judicial authority.” United States v. Kalustian, 529 F.2d

585, 588 (9th Cir. 1975). “Procedural steps provided in the Act [therefore] require strict adherence.”

Id. (citing United States v. Giordano, 416 U.S. 505 (1974)); see also Gelbard v. United States, 408

U.S. 41, 46 (1972) (“Title III authorizes the interception of private wire and oral communications,

but only when law enforcement officials are investigating specified serious crimes and receive prior

judicial approval, an approval that may not be given except upon compliance with stringent

conditions.”).2



 2
        Given that the government has chosen to rely only on the redacted applications, affidavits,
and orders, the sufficiency and legality of those documents under Title III and the Fourth
Amendment may be based only upon that same redacted information. In other words, when the
government chooses to withhold certain information from Title III affidavits provided to the
defendant, it must then defend the Title III application, affidavit, and order “without relying on the
redacted information[.]” United States v. Danovaro, 877 F.2d 583, 588 (7th Cir.1989); See also
United States v. Yoshimura, 831 F. Supp. 799, 806-07 (D. Hawaii 1993) (defendant entitled to
information redacted from Title III affidavit submitted to obtain series of wiretap authorizations
which led to his arrest, unless government would not be relying on redacted information in
establishing probable cause for wiretaps related to defendant’s case); United States v. Coles, 2007
WL 2916510, *6 (E.D. Pa. Oct. 5, 2007) (if government does not rely on redacted information as
evidence essential to establishing necessity under Title III, and it does not intend to introduce
redacted information itself into evidence, defendant’s due process rights are not impacted by non-
disclosure; “however, . . . were the redacted information essential for the Government’s
demonstration of necessity, the Defendant’s due process rights might be significantly implicated to
the point where a different balance between the three interests would need to be struck.”).

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       9.       Ms. Whittington contends that the interception orders were not based on probable

cause and are therefore in violation of Title III and the Fourth Amendment to the United States

Constitution.

       10.      Ms. Whittington contends that the government did not establish the reliability of the

informants upon whom it was relying to establish probable cause.

       11.      Information provided by confidential informants is assessed under the “totality of the

circumstances” approach adopted by the Supreme Court in Illinois v. Gates, 462 U.S. 213 (1983).3

See United States v. Smith, 726 F.2d 852, 864 (1st Cir. 1984) (applying Gates standard to Title III

applications); United States v. Zambrana, 841 F.2d 1320, 1332 (7th Cir. 1988) (same); United States

v. Diaz, 176 F.3d 52, 110 (2nd Cir.1999) (standard for probable cause under Title III “is the same as

the standard for a regular search warrant” under Gates) (quotation omitted). Under Gates, an

affidavit must provide the judge with “a substantial basis for determining the existence of probable

cause.” 462 U.S. at 239. An affiant’s “wholly conclusory statement” regarding the claims of a

confidential source fails to meet this requirement, as does an affiant’s mere statement that he or she

has “received reliable information” from the source. Id. Instead:

       Sufficient information must be presented to the magistrate to allow that official to
       determine probable cause; his action cannot be a mere ratification of the bare
       conclusions of others. In order to ensure that such an abdication of the magistrate’s
       duty does not occur, courts must continue to conscientiously review the sufficiency
       of affidavits on which warrants are issued.


 3
        Prior to Gates, a judge making a probable cause determination based on information from
confidential sources applied a two-prong test, analyzing the source’s basis of knowledge and his or
her veracity. See Aguilar v. Texas, 378 U.S. 108 (1964); Spinelli v. United States, 393 U.S. 410
(1969). In Gates, the Court abandoned the Aguilar-Spinelli two prong test, establishing a unitary
“totality-of-the-circumstances analysis,” but continued to make clear that such factors as the
informant’s veracity, reliability, and basis of knowledge remain “highly relevant” in determining the
ultimate value of the information under Gates. 462 U.S. at 230.

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Id.

       12.     For all these reasons, the affidavit failed to establish probable cause to believe that

the subjects were committing, had committed, or were about to commit any of the enumerated

offenses. Because the affidavit was not supported by probable cause the evidence obtained as a

result of the wiretaps must be suppressed.

       13.     Ms. Whittington contends that the wiretap applications failed to demonstrate that less

intrusive investigative alternatives had failed or were unlikely to succeed.

       Title III requires that a wiretap application contain “a full and complete statement as to

whether or not other investigative procedures have been tried and failed or why they reasonably

appear to be unlikely to succeed if tried or to be too dangerous. . . .” 18 U.S.C. § 2518(1)(c); see

also 18 U.S.C. § 2518(3)(c) (prior to authorizing wiretap, issuing judge must find that “normal

investigative procedures have been tried and have failed or reasonably appear to be unlikely to

succeed if tried or to be too dangerous”). In enacting Title III, Congress did not expect that

wiretapping would be routinely used when traditional investigative techniques could suffice to

expose illegal activity. United States v. Kahn, 415 U.S. 143, 153 n.12 (1974); see Dalia v. United

States, 441 U.S. 238, 250 (1979) (“The plain effect of the detailed restrictions of § 2518 is to

guarantee that wiretapping or bugging occurs only when there is a genuine need for it and only to

the extent that it is needed.”) (footnote omitted); United States v. Giordano, 416 U.S. 505, 515

(1974) (electronic interception of oral and wire communications is not to be routinely employed as

a first step of an investigation); see also United States v. Clerkley, 556 F.2d 709, 715-16 (4th Cir.

1977) (because it is extraordinary investigative procedure, wiretap should not be authorized unless

traditional investigative techniques have been tried and failed or are shown to be unlikely to


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succeed); United States v. Leavis, 853 F.2d 215, 221 (4th Cir. 1988) (“Wiretaps are extraordinary

investigative means. Their intrusiveness mandates that courts, in authorizing them, exercise great

care in protecting individual privacy.”); United States v. Bobo, 477 F.2d 974, 979 (4th Cir. 1973)

(electronic surveillance is to be allowed only when “judicially authorized under the most precise and

discriminating circumstances which meet the requirements of the Fourth Amendment”); United

States v. Lyons, 507 F. Supp. 551, 555 (D. Md. 1981) (“[C]ourts examine closely challenges for

noncompliance [with Title III’s exhaustion requirement] and reject applications that misstate or

overstate the difficulties involved.”) (footnote omitted), aff'd, 695 F.2d 802 (4th Cir. 1982).

        14.     A judge faced with determining whether to authorize a Title III interception in a

particular case must consider the nature of the alleged criminal activity and its inherent susceptibility

to detection by means other than electronic surveillance. A mere boilerplate recitation of the

difficulties of gathering usable evidence is not a sufficient basis for authorizing a wiretap. See

United States v. McKinney, 785 F. Supp. 1214, 1220 (D. Md. 1992) (citing Leavis, 853 F.2d at 221).

Importantly, the Title III application must demonstrate why normal investigative measures will not

succeed or have not succeeded in the particular case. United States v. Robinson, 698 F.2d 448, 453

(D.C. Cir. 1983) (per curiam); see also United States v. Spagnuolo, 549 F.2d 705, 710 (9th Cir. 1977)

(“[T]he affidavit, read in its entirety, must give a factual basis sufficient to show that ordinary

investigative procedures have failed or will fail in the particular case at hand.”); United States v.

Ashley, 876 F.2d 1069, 1075 (1st Cir. 1989) (government has burden of showing “a ‘reasonable

likelihood’ that alternative investigatory techniques would fail to expose [the information sought to

be discovered by way of wiretap]”).




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       15.     As discussed above, the affidavit in this case failed, for a number of reasons, to

establish the probable cause necessary to justify the Title III interceptions in this case. Assuming,

however, for argument’s sake that the affidavit did adequately establish the requisite probable cause,

than it surely cannot be suggested that other investigative procedures were failing. Indeed, if the

government’s claims are to be believed regarding the evidence it has obtained in relation to the

alleged target offenses, then the affidavit reveals a multitude of traditional modes of investigation

that were succeeding at the time the Title III authorization was obtained. In light of this purported

success, the affiant was incorrect to claim that the interception of orders were necessary.

       16.     Despite this abundance of information, the affiant nonetheless asserted that normal

investigative efforts had been tried and had proven ineffective. That conclusory assertion, however,

cannot transform into a “necessity” the mere dilemma that the agents in this case faced: that

investigation of any allegedly large-scale criminal organization is somewhat onerous. See United

States v. Lilla, 699 F.2d 99, 104 (2d Cir. 1983) (affidavit failed Title III’s exhaustion requirement

because it failed to explain why narcotics case under investigation presented problems different from

any other narcotics case); United States v. Kalustian 529 F.2d 585, 589 (9th Cir. 1976) (“The

affidavit does not enlighten us as to why this gambling case presented any investigative problems

which were distinguishable in nature or degree from any other gambling case.”); see also id.

(rejecting, as insufficient to establish the need for electronic surveillance under Title III, the

government’s position “that all gambling conspiracies are tough to crack”). Rather, in these

circumstances, where the use of many and diverse forms of investigation were apparently all proving

successful, the easy resort to electronic surveillance and the interception of oral and non-verbal

communications cannot pass muster under federal wiretap law. See Lilla, 699 at 104-05 (reversing


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convictions where “[t]he record . . . does not support the conclusion that other investigative

procedures were either unlikely to succeed or were too dangerous to use. If anything, the record

establishes the contrary proposition: the normal investigative procedures that were used were

successful. . . .”); see also, Kahn, 415 U.S. at 153 n.12 (Title III is “designed to assure that

wiretapping is not resorted to in situations where traditional investigative techniques would suffice

to expose the crime”).

       17.     Because, according to the affidavit, traditional and less intrusive methods of

investigation were succeeding, and because other such methods would likely have succeeded if given

the chance to do so, the interception orders in this case violated Title III and the Fourth Amendment.

Accordingly, any communications of Ms. Whittington which were intercepted pursuant to the Title

III orders must be suppressed. See Katz v. United States, 389 U.S. 347, 355 (1967) (Fourth

Amendment requires that a search impose “no greater invasion of privacy . . . than [i]s necessary

under the circumstances”) (quotation omitted); see also, United States v. Ippolito, 774 F.2d 1482,

1486 (9th Cir. 1985):

                Although the government need not pursue every alternative means of
       investigation, neither should it be able to ignore avenues of investigation that appear
       both fruitful and cost-effective. It is not unreasonable to expect the government to
       utilize those methods that appear potentially productive. We would flout the
       statutory intent that wiretaps be used only if necessary, were we to sanction a wiretap
       simply because the government pursued some “normal” investigative strategies that
       were unproductive, when more fruitful investigative methods were available. In
       effect, the government would be able to secure a wiretap in every case, even where
       a normal strategy would be likely to achieve the same result without resort to the
       serious intrusion that a wiretap necessarily entails.

       18.     Mr. Whittington contends that the government failed to properly minimize the

interception of communications not subject to electronic surveillance.



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        Title III requires that a wiretap order “shall contain a provision that the authorization to

intercept . . . shall be conducted in such a way as to minimize the interception of communications

not otherwise subject to interception under this chapter.” 18 U.S.C. § 2518(5). Compliance with

this statutory directive is judged on a case-by-case basis. Scott v. United States, 436 U.S. 128, 139

(1978). Relevant factors in this determination include the government’s reasonable expectations

concerning the content of and parties to a conversation, and the degree of judicial supervision while

the wiretap is being executed. Clerkley, 556 F.2d at 716. The burden of proving that the executing

agents complied with the statutory minimization requirement falls upon the government. United

States v. Rizzo, 491 F.2d 215, 217-18 (2d Cir. 1974). To satisfy the minimization requirement,

agents must show a “high regard” for the right of privacy of those who are being subjected to

surveillance, and must reduce unnecessary intrusions into the speakers’ privacy “to the smallest

degree possible.” United States v. Oriakhi, 57 F.3d 1290, 1300 (4th Cir. 1995) (quotations omitted).

        WHEREFORE, for all the reasons discussed above, and any others that may develop at a

hearing, this Court should exclude any evidence seized pursuant to the Title III orders issued in this

case.




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                                              Respectfully submitted,



                                                             /S/

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                                  REQUEST FOR HEARING

       Pursuant to Rule 105.6 of the Local Rules of the United States District of Maryland, a hearing

is requested on the defendant’s motion.




                                                             /S/

                                              JOSEPH A. BALTER               #04496




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